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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION


NETLIST, INC.,                                    §
                 Plaintiff                        §
                                                  §                 6-20-CV-00194-ADA
-vs-                                              §
                                                  §                 6-20-CV-00525-ADA
SK HYNIX INC., SK HYNIX AMERICA INC.,             §
              Defendants                          §
                                                  §


                                 CLAIM CONSTRUCTION ORDER

         The parties requested the Court to construe claim terms of United States Patent Nos.

9,858,218; 10,474,595; and 10,217,523. The Court provided preliminary constructions on March

3, 2021 and held a claim construction hearing on March 4, 2021, during which the Court heard

argument on the following claim terms: (1) “notification signal associated with the [one or more

training sequences]”; (2) “information related to the [one or more training sequences]”; (3)

“open-drain signals related to the [one or more training sequences]”; (4) “first mode”; (5)

“second mode.”

         After careful consideration of the parties’ briefs, oral argument, and agreements after the

hearing, and the applicable law, the Court enters its final constructions for each term as shown

below:
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 U.S. Patent Nos. 9,858,218 and 10,474,595

Claim Term          Plaintiff’s Proposed             Defendant’s              Court’s Final
                    Construction                     Proposed                 Construction
                                                     Construction
“mode” / “first     Distinct behavioral state that   Plain and ordinary       Plain and ordinary
mode” / “second     a system may be switched to      meaning in the           meaning
mode”                                                context of the
                    Neither “first” nor “second”     claims and
                    require construction             specification:

                                                     For the ’218 Patent:
                                                     “first mode” means
                                                     “initialization
                                                     mode”

                                                     “second mode”
                                                     means “operational
                                                     mode”

                                                     For the ’595 Patent:

                                                     “first mode” means
                                                     “operational mode”

                                                     “second mode”
                                                     means
                                                     “initialization
                                                     mode”
“one or more        One or more operations           “training sequence”      “Training sequences”
training            related to synchronization of    means “operations,       means “operations in a
sequences”          a receiver circuit to an         steps or tasks           particular order for
                    incoming signal                  completed by the         preparing a memory
                                                     memory module in         system to perform its
                                                     a particular order to    intended functions”
                                                     train itself as part
                                                     of its initialization”
                                                     No construction
                                                     necessary for the
                                                     rest of the
                                                     term/phrase.
“notification       “Notification signal” should     “an unscheduled          See above for
signal associated   receive its plain and ordinary   signal provided          construction of “one
with the [one or    meaning, which does not          without polling that     or more training
more training
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sequences]”           encompass polling.               indicates the status   sequences.” The rest
                      “One or more training            of the [one or more    of the phrase has its
                      sequences” means “one or         training               plain and ordinary
                      more operations related to       sequences]”            meaning, which does
                      synchronization of a receiver    The “one or more       not encompass
                      circuit to an incoming           training sequences”    polling.
                      signal.”                         language is
                      The remainder of the term        addressed above.
                      does not require construction
                      and should
                      receive its plain and ordinary
                      meaning.

“information          “One or more training          “information             See above for
related to the [one   sequences” means “one or       provided without         construction of “one
or more training      more operations related to     polling at an            or more training
sequences]”           synchronization of a receiver  unscheduled time         sequences.” The rest
                      circuit to an incoming         that indicates the       of the phrase has its
                      signal.”                       status of the [one or    plain and ordinary
                      The remainder of the term      more training            meaning, which does
                      does not require construction  sequences]”              not encompass
                      and should receive its plain   The “one or more         polling.
                      and ordinary meaning.
                                                     training sequences”
                                                     language is
                                                     addressed above.
“open-drain           “One or more training          “an unscheduled          See above for
signals related to    sequences” means “one or       signal provided          construction of “one
the [one or more      more operations related to     without polling          or more training
training              synchronization of a receiver from an open-drain        sequences.” The rest
sequences]”           circuit to an incoming signal” output that              of the phrase has its
                      The remainder of the term      indicates the status     plain and ordinary
                      does not require construction of the [one or more       meaning, which does
                      and should receive its plain   training                 not encompass
                      and ordinary meaning.          sequences]”              polling.
                                                     The “one or more
                                                     training sequences”
                                                     language is
                                                     addressed above.
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 U.S. Patent No. 10,217,523

Claim Term            Plaintiff’s Proposed       Defendant’s                Court’s Preliminary
                      Construction               Proposed                   Construction
                                                 Construction
“first mode”          The term “first” does      Plain and ordinary         Plain and ordinary
                      not require                meaning in the context     meaning
                      construction.              of the claims and
                      The term “mode”            specification:
                      means “a distinct          “normal mode”
                      behavioral state that a
                      system may be
                      switched to.”
“second mode”         The term “mode”            Plain and ordinary         Plain and ordinary
                      means “a distinct          meaning in the context     meaning
                      behavioral state that a    of the claims and
                      system may be              specification:
                      switched to.”              “self-test mode”

“data handler”        The term “data             “circuitry that generates “Circuitry for
                      handler” does not          and manages data,         generating and
                      require construction       where generate and        processing data”
                      and should receive its     manage have the
                      plain and ordinary         meanings set forth
                      meaning as understood      above”
                      by a person of ordinary
                      skill in the art at the
                      time of the invention.

“data handler logic   The term “data handler     “logic element(s) that     Plain and ordinary
element[s]”           logic element[s]” does     generate and manage        meaning, except see
                      not require construction   data, where generate       construction of “data
                      and should receive its     means to produce (i.e.,    handler” above
                      plain and ordinary         bring into existence,
                      meaning as understood      including by
                      by a person of ordinary    transformation or
                      skill in the art at the    modification of
                      time of the invention.     information and/or data
                                                 received from another
                                                 component), which
                                                 does not include
                                                 packing and unpacking
                                                 data from a packet, and
                                                 manage means to
                                                 process, transfer and/or
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                                               control the movement
                                               of”
“data module”        The term “data            “module including at   Plain and ordinary
                     module” does not          least one [data        meaning
                     require construction      handler]”
                     and should receive its
                     plain and ordinary
                     meaning as understood
                     by a person of ordinary
                     skill in the art at the
                     time of the invention.




       SIGNED this 12th day of March, 2021.




                                           ALAN D ALBRIGHT
                                           UNITED STATES DISTRICT JUDGE
